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 1   McGREGOR W. SCOTT
     United States Attorney
 2   VIRNA L. SANTOS
     Assistant U.S. Attorney
 3   Federal Courthouse
     2500 Tulare Street, Suite 4401
 4   Fresno, California 93721
     Telephone: (559) 497-4000
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 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                               )      No. 1:06cr00042 AWI
                                                             )
12                          Plaintiff,                       )      STIPULATION AND ORDER TO
                                                             )      CONTINUE MOTIONS HEARING
13                                                           )
                             v.                              )
14                                                           )
     EMILIO VEGA, et al.,                                    )
15                                                           )
                            Defendants.                      )
16                                                           )

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20
            IT IS HEREBY STIPULATED by and between th parties hereto through their respective
21
     counsel, Virna L. Santos, Assistant United States Attorney for the government, Kendall Simsarian,
22
     attorney for EMILIO VEGA, and Juan Falcon, attorney for CONCEPCION VEGA, to continue the
23
     motions hearing date in this matter, currently set for June 19, 2006, to a new date of July 24, 2006.
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            The parties further stipulate that the government’s response to any pending motions shall
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     now be due on July 3, 2006 and that any reply shall be filed by July 10, 2006.
26
            This continuance is necessary to allow for additional investigation of the case and to pemit
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     negotiations that may result in the resolution of this matter without the need to litigate the pending
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 1   motion.

 2          All parties stipulate that time shall be excluded for the above purposes until the new

 3   hearing date of July 24, 2006, pursuant to 18 U.S.C. § 3161(h)(8)(A).

 4          IT IS SO STIPULATED.

 5

 6   Dated: June 16, 2006
                                                          /s/ Virna L. Santos
 7                                                         VIRNA L. SANTOS
                                                          Assistant U. S. Attorney
 8
     Dated: June 15, 2006                                 /s/ Kendall Simsarian
 9                                                        KENDALL SIMSARIAN
                                                          Attorney for Emilio Vega
10

11   Dated: June 15, 2006                                 /s/ Juan Falcon
                                                          JUAN FALCON
12                                                        Attorney for Concepcion Vega

13
                                                  ORDER
14
            Having received and reviewed the stipulation of the parties, and good cause appearing
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     therefor,
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            IT IS HEREBY ORDERED that the hearing date presently scheduled for June 19, 2006 be
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     continued to July 24, 2006 at 9:00 a.m.
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            IT IS FURTHER ORDERED that the filing dates for any pleadings shall be rescheduled as
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     stipulated.
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     IT IS SO ORDERED.
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     Dated:        June 16, 2006                       /s/ Anthony W. Ishii
23   0m8i78                                      UNITED STATES DISTRICT JUDGE

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